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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


 RODNEY E. DAVIS,
 MISTY D. DAVIS,

        Plaintiffs,                                                   Case No. 1:20-cv-496

 v.                                                                   Honorable Hala Y. Jarbou

 CLARE COUNTY DHHS CPS, et al.,

       Defendants.
 ________________________________/


                                             ORDER

       This is a civil rights action brought by two individuals proceeding in forma pauperis. On

July 15, 2020, Magistrate Judge Sally J. Berens issued a Report and Recommendation (R&R)

recommending that the Court dismiss the complaint for failure to state a claim and certify that an

appeal would not be taken in good faith. (ECF No. 14.) The R&R was duly served on the parties,

but Plaintiffs did not file objections to the R&R. Instead, Plaintiff Rodney Davis filed a motion to

serve subpoenas (ECF No. 15), a motion for a continuance (ECF No. 16), and a motion to amend

the Court’s June 9, 2020, deficiency order regarding his co-Plaintiff’s failure to pay the filing fee

or to file the documents required to proceed in forma pauperis (ECF No. 17).

       On review, the Court concludes that the R&R correctly analyzes the issues and makes

sound recommendations. Therefore, the Court will dismiss the action.

       Furthermore, the motion for a subpoena and the motion to amend the Court’s deficiency

order are moot considering the Court’s decision to dismiss the case. Plaintiff’s request for a

continuance is also moot. Plaintiff asked for additional time to correct “all def[iciencies].” (ECF
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No. 16, PageID.344.) Plaintiff submitted his request at the end of July. More than three months

have passed since that time and he has yet to provide any indication that he can correct the

deficiencies in the complaint. He has had more than ample opportunity to do so.

         Accordingly,

         IT IS ORDERED that the R&R (ECF No. 14) is ACCEPTED and ADOPTED as the

opinion of the Court.

         IT IS FURTHER ORDERED that Plaintiff Rodney Davis’ motion to serve subpoenas

(ECF No. 15), motion for a continuance (ECF No. 16), and motion to amend the Court’s deficiency

order (ECF No. 17) are DENIED.

         IT IS FURTHER ORDERED that the Court certifies that there is no good faith basis for

an appeal.

         A judgment will enter consistent with this order.



Dated:     November 5, 2020                            /s/ Hala Y. Jarbou
                                                      HALA Y. JARBOU
                                                      UNITED STATES DISTRICT JUDGE




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